Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 1 of 38 PagelD: 613

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

CHRISTINE CONFORTI, ARATI KREIBICH,
MICO LUCIDE, JOSEPH MARCHICA,
KEVEN MCMILLAN, Z2TNOVIA SPEZAKIS, Civil Action No.: 3:20-cav-
and NEW JERSEY WORKING FAMILIES 08267-FLW-TJB

ALLIANCE, INC.

Civil Action

Plaintiff,
Vs.

CHRISTINE GIORDANO HANLON, in her
official capacity as Monmouth
County Clerk, SCOTT M. COLABELLA,
in his official capacity as Ocean
County Clerk, and PAULA SOLLAMI
COVELLO, in her official capacity
as Mercer County Clerk, JOHN 8,
HOGAN, in his official capacity as
Bergen County Clerk, EDWARD P.
MCGETTIGAN, in his official
capacity as Atlantic County Clerk,
and FE. JUNIOR MALDONADO, in his
official capacity as Hudson County
Clerk,

Defendants

BRIEF IN SUPPORT OF DEFENDANT, OCEAN COUNTY CLERK, SCOTT M.
COLABELLA’S MOTION TO DISMISS PLAINTIFE’S COMPLAINT
PURSUANT TO F.R.C.P. 12 (b) (1) and (b) (6)

Mathew B. Thompson, Esq.
Bar ID#023121998
On the Brief

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 2 of 38 PagelD: 614

TABLE OF CONTENTS

TABLE OF AUTHORITIES. . 1. 0. 6 ee ee ee ee ee ee ee ew ew ET

PRELIMINARY STATEMENT 2. 2. 0. ee ee eee ee ee ee ee ed

STATEMENT OF FACTS . 2. 1. 6 ee ee ee eee ee eee

LEGAL ARGUMENT . 0. ee ee ee ee ee ee
POINT I

THE AMENDED COMPLAINT MUST BE DISMISSED PURSUANT TO
FED.R.CIV.P 12(b) (1) BECAUSE THE PLAINTIFFS CANNOT
ESTABLISH STANDING. . 1. 1 1 ee ee ee ee ee ee ee 2

POINT ITI

PLAINTIFF’S ALLEGED CONSTITUTIONAL VIOLATIONS MUST BE
DISMISSED PURSUANT TO FED. R. CIV. BP. 12{b)6) . . . 2... 8

A. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE
A CLAIM OF A VIOLATION OF A FIRST AND FOURTH
AMENDMENT RIGHT UNDER THE FEDERAL CONSTITUTION
OF THE RIGHT TO VOTE/VOTE DILUTION. . ..... . . 10

B. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE A
CLAIM OF A VIOLATION OF THE EQUAL PROTECTION
CLAUSE AND FREEDOM OF ASSOCIATION UNDER THE
FIRST AND FOURTEENTH AMENDMENT OF THE FEDERAL
CONSTITUTION. 2 2.0.06 2 ee ee ee ee ee ee ee 13

Cc. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE
A CLAIM OF A VIOLATION HER RIGHT OF ASSOCATION
GUARANTEED UNDER THE FIRST AND FOURTEENTH
AMENDMENT OF THE FEDERAL CONSTITUTION ...... . 24

D. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE
A CLAIM OF A VIOLATION OF THE ELECTIONS CLAUSE
OF THE FEDERAL CONSTITUTION . . . . 1 1 1 ee ew ee 26

E. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE
A CLAIM OF A DEPRIVATION OF ANY CONSTITUTIONAL
OR FEDERAL STATUTORY RIGHTS . .... -. ee ee ee 29

CONCLUSION. 2.0. 6 eee ee ee ee ee ee BB
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 3 of 38 PagelD: 615

TABLE OF AUTHORITIES

Cases

American Party of Texas v. Wnite,415 U.S. 767 (1974). . . . . 16
Anderson v. Celebrezze, 460 U.S. 780 (1983) . . 6. ss 2 we 16
Ashcroft v. Iqbal, 556 U.S. 662 (2009)... .... +... . .8,9
Bado v. Gilfert, 13 N.J. Super. 363 (App. Div. 1951). . . .14,19
Baker v. McCollan, 443 U.S. 137 (1979). 2. 2 6 6 ee ee eee 30

Baten v. McMaster, 967 F.3d 345 (4th Cir. 2020),

as amended (July 27, 2020). 2. 2. 6 2 ee ee ee ee ees 12
Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). .-. .. 8,9
Blunt v. Lower Merion Sch. Dist., 767 F.3d 247

(3d Cir.2014). . 6. ee ee ee ee ee ee ee 8
Burdick v. Takushi, 504 U.S. 428 (1992)... ..... 4... 16

Chapman v. Houston Welfare Rights Org.,
441 U.S. 600 (1979) 2... ee ee ee ee ee ee ee ee 30

Clingman v. Beaver, 544 U.S. 581 (2005). . . .» . se we. 15,16

Constitution Party of Pa. v. Aichele,
757 F.3d 347 (3d Cir.2014) 2... 6 ee ee ee ee ee ee 8

Cook v. Gralike, 531 U.S. 510 (2001) ...... 2... . . 28,29

Crawford v. Marion County Election Bd.,
553 U.S. 181 (2008)... . ee ee ee eee ee ee 15,25

Edmonson v. Lincoln Nat'l Life Ins. Co.,
725 F.3d 406 (3d Cir.2013) 2... 2 ee ee ee ee ee ee ee 4

Eu v. San Francisco County Democratic Cent.
Committee, 489 U.S. 214 (1989) ...... ... . . 13,14,16,24

Farrington v. Falcey, 96 N.J. Super. 409 (App. Div. 1967) . . 20

IT
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 4 of 38 PagelD: 616

Ferguson v. Skrupa, 372 U.S. 726, (1963)... ... .. 4... 15

Friends of the Barth, Inc. v. Laidlaw Envtl.

Servs. (TOC), Inc., 528 U.S. 167 (2000). . . . 2... . wee. 8
Foster v. Love, 522 U.S. 67 (1997)... 2. ee ee eee ee BF
Fowler v. UPMC Shadyside, 578 F.3d 203 (3d Cir. 2009). .... 9

Golden State Transit v. City of Los Angeles,
493 U.S. 103 (1989) .. 2... ee ee ee ee ee ee we SL

Graham v. Connor, 490 U.S. 386, (1989). . . ... 2.4... . . 30

Harrison v. Jones, 44 N.d. Super.,
456 (App. Div. 1957). 2. 2 2 ee eee ee ee ew ee ee 14,19, 23

Hawkes v. Gates, 129 N.J.L. 5 (1942). . .. . . . 14,18,19,20,23

Henschke v. Borough of Ciayton,
251 N.3. Super. 393 (App. Div. 1991) .. ..... 2. . 30,31

Hillard v. New Jersey Army Nat’l Guard,

527 F. Supp. 405 (D.N.J. 1981). 2. 2. ww ew eee ee eee 30
Illinois Bd. of Elections v. Socialist Workers Party,

440 U.S. 173, 184, (1979) 2. 6 2 2 we ee ee ee ee ee 1B
In re Hoffman, 134 N.J.L. 155 (1946) . . 2... 2. we 14,19

Jacobson v. Florida Secretary of State,
974 F.3d 1236 (2020). 2. 2. 6 ee ee ee ee ee ee ee 2G

Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375 (1994). 2... ee ee ee ee ee ee
Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992). ..... 3
Maine v. Thiboutot, 448 U.S. 1 (1984) . .. .. 2. 2. ew ee. 30

Middlesex County Sewage v. National Sea Ciammers Assn.,
453 U.S. 1, 19, (1981). 2. 6 2 ew ee ee ee ee eee ee SI

Tit
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 5 of 38 PagelD: 617

Moskowitz v. Grogan, 101 N.J. Super. i111
-(Aop. Div. 1968) . 2... 2 ke eee ee ee ew ee T4,19,20,21

Nader v. Federai Election Com’n,
725 F.3d 226 (D.C. Cir. 2013)... 2. 6 ee we ee ee ee 4

Neale v. Volvo Cars of N. Am., LLC,
794 F.3d 353 (3d Cir.2015) 2. 2. ee ee ee ee ee ee BS

N.J. Physicians, Inc. v. President of the United States,

653 F.3d 234 (3d Cir.2011) 2... 2. ee ee ee ee ee eB
Phillips v. County of Allegheny,

515 F.3d 224 (3d Cir. 2008). 2. 1. ww we ee ee ee ee eee GD
Quaremba v. Allan, 67 N.J. 1 (1975). . . . . . 14,15,17,21,22,23
Quern v. Jordan, 440 U.S, 332 (1979) . 2. 6 ee ee ew we es -30
Richardson v. Caputo, 46 N.J. 3 (1965). . 2. 6. 6 ee ee .14,19
Reid v. Barret, 467 F. Supp. 124 (D.N.J. 1979), aff’d.,

615 F.2d 1354 (3™7 Cir. 1990). 2. 1 ee ee ee ee eee ee 8
Rucho v. Common Cause, 139 S. Ct. 2484 (2019) .. . . . 10,12,29

Schundler v. Donovan, 377 N.J. Super. 339
(App. Div. 2005). 2. 6 2 6 ee ee ee ee ee ee 28

Summers Earth Island Institute,
555 U.S. 488 (2009). 2. 1. 2. we ee ee ee ee ee BB

Storer v. Brown, 415 U.S. 724 (1974). . 2. 1 ee ewe ee ee BT

Tashjian v. Republican Party of Connecticut,
479 U.S. 208 (1986) .... 2... 2. 2 eee ew ee es ee 13,135,116

Toll Bros., Inc. v. Two. of Readington,

555 F.3d 131 (3d Cir.2009) . 2. 1. ww ee ee ee ee ew BA
U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779 (1995). . . .27
Washington v. Glucksberg, 521 U.S. 702 (1997)) ... . . . 15,25

IV
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 6 of 38 PagelD: 618

West v. Atkins, 487 U.S. 32 (1988)... 2. eee ee ee ee 389
Willdoner v. Borough of Ramsey, 162 N.J. 375 (2000) . . . . . 30
Williamson v. Lee Optical Co., 348 U.S. 483, 489 (1955). . 16,17
Worthington v. Fauver, 88 N.J. 183 (1982) . . 1. . 2. ee ee 28

Wright v. Roanoke Redevelopment and Housing Authority,
479 U.S. 418 (1987) 2. 2 we ee ee ee eee eee ee SI

Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579 (1952) 2... ke eee ee ee ke ee eee BB
Statutes

N.0.S.A..19:49-2. .,.. . . . 1,5,14,15,17,18,19,20,21,23,24,25
42 U.S.C. § 1983 ...... toe ee we ew we ew we we ew 29,380,351

Constitutional Provisions

U.S. Const. Art I., $4, clause 1 ......... ... . 15,26
U.S. Const., Art. III, sec.2 . 2. 2 2 ee ew ee ew ew ee we 2,3,4
Rules

Fed. R. Civ. P. 12{b) (1). . 2. 1. ewe ee ee aoe ew ew ew ew 1?
Fed. R. Civ. P. i2{b) (6)... 6.0.02 6 ee ew ee ee we ww 1 B,D
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 7 of 38 PagelD: 619

PRELIMINARY STATEMENT

This matter arises out of Plaintiffs Christine Conforti’s
(“Plaintiff Conforti”) and New Jersey Working Families Alliance,
Inc. (“Plaintiff NJWFA”) Amended Complaint based upon federal

constitutional grounds against the Ocean County Clerk, Scott M.

Colabella, (“Ocean County Clerk”}, Monmouth County Clerk,
Christine Giordano Hanlon, (“Monmouth County Clerk”), and Mercer
County Clerk, Paula Sollami Covello, (“Mercer County Clerk”),
Atlantic County Clerk, (“Atlantic County Clerk”) Edward P.
McGettigan, and Hudson County Clerk, Junior Maldonaldo,. (“Hudson
County Clerk”).

The gravamen of Plaintiffs’ Amended Complaint is that the
New Jersey bracketing statute, N.J.S.A. 19:49-2, violates their
federally-protected constitutional rights of association (or
right not to associate with a political party), equal protection
of the laws as bracketed candidates obtain preferential ballot
placement because of segregated ballot drawings between
bracketed and unbracketed candidates, and causes Plaintiff
Conforti’s loss of votes due to her disadvantaged ballot
position as an unbracketed candidate.

Plaintiffs’ Complaint must be dismissed as a matter of law
for a lack of subject matter jurisdiction under F.R.Civ.P
12(b) {1) or in the alternative for failure to state a claim

under F.R.Civ.P. 12(b) (6).

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 8 of 38 PagelD: 620

STATEMENT OF FACTS

Plaintiff Conforti is a former candidate for the 2020
Democratic Party nomination for the U.S. House of

Representatives in New Jersey’s Fourth Congressional District.

(ECF 33 Paragraph 19) Plaintiff Conforti was defeated in the

Democratic Primary on July 7, 2020. (ECF 33 Paragraph 20)

Plaintiff Conforti, on her petition of nomination for the New

Jersey democratic primary election in Ocean County, “chose to
exercise her First Amendment Right not to associate with a U.S.
Senate Candidate” and she was placed in the fourth column. (EDC

33 Paragraph 110 & 112)

LEGAL ARGUMENT

POINT I

THE AMENDED COMPLAINT MUST BE DISMISSED PURSUANT
F.R.Civ.P 12 (b} (1) BECAUSE THE PLAINTIFFS CANNOT

ESTABLISH STANDING

A motion to dismiss brought pursuant to F.R.Civ.P 12(b) (1)
addresses the court’s subject matter jurisdiction. The party
asserting jurisdiction bears the burden of proving that the
court has subject matter jurisdiction over their claims.

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377,

(1994).
To establish Article III standing, Plaintiffs must
demonstrate “(1) an injury-in-fact, (2) a sufficient causal

connection between the injury and the conduct complained of, and
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 9 of 38 PagelD: 621

(3) a likelihood that the injury will be redressed by a

favorable decision.” Neale v. Volvo Cars of N. Am., LLC, 794

F.3d 353, 358-59 (3d Cir.2015) To allege the first element,
injury-in-fact, a plaintiff must claim “the invasion of a
concrete and particularized legally protected interest”
resulting in harm “that is actual or imminent, not conjectural

or hypothetical.” Blunt v. Lower Merion Sch. Dist., 767 F.3d

247, 278 (3d Cir.2014) To be “concrete,” an injury must be

“real, or distinct and palpable, as opposed to merely abstract.”

N.J. Physicians, Inc. v. President of the United States, 653

F.3d 234, 238 (3d Cir.2011) To be sufficiently “particularized,”

an injury must “affect the plaintiff in a personal and

individual way.” Lujan v. Defenders of Wildlife, 504 U.5. 555,

560 n 1, (1992)) Plaintiffs do not allege an injury-in-fact when
they rely on a “chain of contingencies” or “mere speculation.”

Constitution Party of Pa. v. Aichele, 757 F.3d 347, 364 (3d

Cir.2014) The second element of Article III standing is
causation. This element requires the alleged injury to be
“fairly traceable to the challenged action of the defendant, and
not the resuit of the independent action of some third party not

before the court.” Toll Bros., Inc. v. Twp. of Readington, 555

F.3d 131, 137-38 (3d Cir.2009) This requirement is “akin to
‘but for’ causation” in tort and may be satisfied “even where

the conduct in question might not have been a proximate cause of
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 10 of 38 PagelD: 622

the harm.” Edmonson v. Lincoln Nat'l Life Ins. Co., 725 F.3d

406, 418 (3d Cir.2013) An “indirect causal relationship will
suffice,” provided that “there is a ‘fairly traceable connection
between the alleged injury in fact and the alleged conduct of
the defendant.’ ” Toll Bros., 555 F.3d at 142 Finally, the
plaintiffs must establish redressability. This requires the
plaintiffs to show that it is “likely, as opposed to merely
speculative,” that the alleged injury will be redressed by a

favorable decision. Defenders of Wildlife, 504 U.S. at 561.

As a threshold matter, Plaintiff Conforti and Plaintiff
NJWFA lack the requisite standing to file suit in accordance
with Article III standing on multiple grounds. First,
Plaintiffs do not provide any specific evidence of an injury-in-
fact or imminent harm. The Democratic primary election forming
the subject matter of this Complaint has already passed. Article
TII standing requires more than “‘some day’ intentions” to
support a finding of the “‘actual or imminent’ injury that our

cases require.” Nader v. Federal Election Com’n, 725 F.3d 226,

229 (D.C. Cir. 2013) quoting Defenders of Wildlife, 504 U.S. at

564. Plaintiff Conforti merely pleads that she “intends to run”
but provides no specificity as to when or for what office. (ECF
33 Paragraph 23)

Moreover, Piaintiffs lack Article III standing due to the

absence of proof that her injury is traceable to the Ocean

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 11 of 38 PagelD: 623

County Clerk’s lawful exercise of discretionary authority under
N.J.S.A. 19:49-2. Plaintiffs only offer a summary of academic
literature on positional bias effect instead of specific proof
that she lost votes because of her placement on the ballot.
Plaintiffs’ Amended Complaint does not allege the Ocean County
Clerk failed to treat all unbracketed, unaffiliated candidates
in the democratic primary the same in terms of ballot drawing
and placement in accordance with N.J.S.A. 19:49-2. Moreover, the
Plaintiffs fail to allege that the defendant Ocean County Clerk
acted with malice or an intent to discriminatory purpose.
Rather, the Plaintiffs’ Amended Complaint provides in part as
follows:

76. The County Clerk is required to hold a ballot
draw to determine the order of placement of various
candidates running for the same office on the ballot.
N.J.S.A. 19:23-24.,

77. While N.J.S.A. 19:23-24 sets forth various
procedures intended to ensure fairness as between the
candidates being drawn, only some candidates get to
enjoy those fair procedures on equal footing. This is
because New Jersey case law interpreting the relevant
enabling statutes has determined that an initial
drawing for ballot position should take place only as
among candidates who are bracketed together with joint
petition county candidates, except in years when
candidates for U.S. Senate or Governor are on the
ballot pursuant to N.J.S.A. 19:23-26.1 (in which case
the latter offices are considered the pivot point, as
further described in the next section). (Emphasis
Added)

78. Once the pivot point candidate(s) are drawn,
all candidates running for other offices who are
bracketed with them are automatically placed on that

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 12 of 38 PagelD: 624

same column. These bracketed candidates running for
other offices are therefore eligible to obtain the
first ballot position, and will be placed further to
the left (or further to the top) of the ballot than
other unbracketed candidates running for the same
office.

79, Once the initial ballot draw has taken place,
then a series of non-preferential ballot draws take
place between remaining unbracketed candidates for the
other offices. These candidates are not eligible to
receive the first ballot position and will be placed
further to the right (or further to the bottom) of the
ballot than the bracketed candidates running for the
same office.

kkk

110. The Ocean County Clerk’s Office drew for
ballot position based upon U.S. Senate candidates
first. Because Conforti chose to exercise her First

Amendment right not to associate with a U.S. Senate
candidate, she was not included in the preferential
ballot draw. Therefore she was prohibited from having
any chance to receive the first ballot position.
(emphasis added)

111. only one congressional candidate
running against Conforti, Schmid, was automatically
placed (in the first column) as a result of the
initial ballot draw, due to the fact Schmid was
bracketed with a Senate candidate.

112. Eventually, Conforti was placed in the
fourth column, all by herself.

kkk *K
(ECF 33)
The facts and law as alleged in the Plaintiffs’ Amended
Complaint clearly establishes that the Ocean County Clerk abided
by all applicable statutes. The alleged injury, failure to

achieve first ballot position, was a result of the Plaintiff
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 13 of 38 PagelD: 625

Conforti’s conscious decision not to associate with either of
the two Senate candidates for the Democratic Primary. It was
Plaintiff Conforti’s decision not be associated with Senator

Corey Booker who was aligned with the Official Regular

Democratic Organization or with Lawrence Hamm, a candidate for
U.S. Senate aligned with Bernie Sanders of the “Not Me. Us.” of

Democratic Party, that prevented her from obtaining either the

first or second column. Thus, Plaintiff cannot estabiish proof
of causation her alleged injury is fairly traceable to the
defendant Ocean County Clerk’s conduct.

Further, Plaintiff sued the county clerks who are acting in
good-faith under the color of state law, but did not name the
State, or the Secretary of State as a defendant in this case.
Naturally, naming either of these parties would bar this suit in
federal court under Eleventh Amendment immunity principles. In
the same vein, however, the Ocean County Clerk exercised his
discretionary authority under New Jersey state election law, the
subject and enforcement of which emanates from the State, with
the Secretary of State as the chief election official in the
State. Therefore, the Ocean County Clerk acting under the aegis
of state election law should be conferred the same Eleventh
Amendment immunity protections from suit in federal court as any

other state official such as the Secretary of State.
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 14 of 38 PagelD: 626

Lastly, the Plaintiff NOWFA has failed to sufficiently
plead associational standing. To establish associational
standing, an organization must prove that its members “would
otherwise have standing to sue in their own right.” Friends of

the Barth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.

167, 181 (2000). Plaintiff NJWFA contends that they have
standing based on injuries because in “2020 alone, NJWEF has
endorsed numerous candidates in connection with the July 7, 2020

primary election, including many federal, state, and local

unbracketed candidates.” (ECF 33 paragraph 11) However, NJWE

has failed to even allege that they have any members or voters

within the geographical boundaries of the Fourth Congressional

District in Ocean County or that they even endorsed Plaintiff

Conforti. That failure is fatal to their associational

standing. See Summers Earth Island Institute, 555 U.S. 488 at

498,
POINT II

PLAINTIFF'S ALLEGED CONSTITUTIONAL VIOLATIONS MUST BE
DISMISSED PURSUANT TO FED. R. CIV. P. 12(b) (6)

The standard for deciding a F. R. Civ. P. 12(b) (6) motion

to dismiss was set forth by the U.S. Supreme Court in Bell

Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft _v.

Iqbal, 556 U.S. 662 (2009). Under Rule 12 (b) (6), courts look at

whether a complaint “states a plausible claim for relief” in
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 15 of 38 PagelD: 627

order to survive a motion to dismiss. Ashcroft, 556 U.S. at 679
(stating that “only a complaint that states a plausible claim

for relief survives a motion to dismiss” (citing Bell Atlantic

Corp., 550 U.S. at 556). Thus, to “prevent dismissal, all civil
complaints must now set out ‘sufficient factual matter’ to show

that the claim is facially plausible.” Fowler v. UPMC Shadyside,

578 F.3d 203, 210 (3d Cir. 2009).
As the Third Circuit Court of Appeals has noted, “on a Rule

12(b) (6) motion, the facts alleged must be taken as true and a

complaint may not be dismissed merely because it appears
unlikely that the plaintiff can prove those facts or will

ultimately prevail on the merits.” Phillips v. County of

Allegheny, 515 F.3d 224, 231 (3d Cir. 2008} (citation omitted).
However, conclusory legal statements contained in a complaint
are not automatically accepted as true. See Ashcroft, 556 U.S.
at 663 (stating that “the tenet that a court must accept as true
all of the allegations contained in the complaint is
inapplicable to legal conclusions”). Similarly, mere “labels and
conclusions” or a “formulaic recitation of the elements of a

cause of action will not do” either. Bell Atlantic Corp., 550

U.S. at 555. Instead, “[f]Jactual allegations must be enough to
raise a right to relief above the speculative level...” Id.;

accord Fowler, 578 F.3d at 210 (noting that a plaintiff is now
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 16 of 38 PagelD: 628

required “to plead more than the possibility of relief to
survive a motion to dismiss”).

A. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE A
CLAIM OF A VIOLATION OF A FIRST AND FOURTH
AMENDMENT RIGHT UNDER THE FEDERAL CONSTITUTION OF
THE RIGHT TO VOTE/VOTE DILUTION.

Plaintiff’s theory of diminution of votes appears to be
that, because of New Jersey’s statutory primary ballot order
requiring those primary candidates who have filed a joint
petition with the County Clerk receive an initial drawing for
ballot position, it takes a greater number of careful Ocean
County Democratic Primary voters than voters that are less
careful and will select a candidate that happens to appear first
on the ballot, resulting in a diminution of Ocean County
Democratic primary voters for themselves or their preferred
candidates.

The Plaintiffs’ theory presents a nonjusticiable political

question. Complaints of unfair partisan advantage based

association of primary candidates on the order in which
candidates appear on the primary ballot bear all the hallmarks

of a political question under the recent decision of the Supreme

Court in Rucho v. Common Cause, 139 S. Ct. 2484 (2019). No

judicially discernable and manageable standards exist to
determine what constitutes a “fair” allocation of the top ballot

position, and picking among the competing visions of fairness

10
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 17 of 38 PagelD: 629

“poses basic questions that are political, not legal.” IRd. at
2560. And even if courts could agree on a standard for fairly
ordering ballots, no objective measures exist to identify
violations of that standard. See Id. at 2501. The Plaintiffs’
lawsuit seeks this Court to require the Defendants County Clerk
“to use a ballot organized by office sought, either (1) a
rotational ballot order system... or (2) randomized ballot order”
(ECF 33 Page 56 Paragraph c) There are legal standards to
adjudicate this kind of complaint because it does not allege any
. burden-on individual voting rights. Instead, adjudicating this
kind of complaint would require this Court to pick among various

conceptions of a politically “fair” ballot order that have no

basis in the Constitution. For that reason, the Plaintiffs’
Amended Complaint “poses basic questions that are political, not

legal.” Id. at 2500. And even if a judicially discernable and

manageable standard for fairly ordering a primary ballot exists,
there are no standards for determining how much of a departure
from an ideal primary ballot order amounts to a constitutional
violation. See Id. at 2501.

The New Jersey ballot bracketing statutes do not make it
more difficult for individuals to vote in a primary, or to
choose the primary candidate of their choice. It does not limit
any member of political party from appearing on the primary

ballot of that political party, which would interfere with a

11
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 18 of 38 PagelD: 630

voters’ ability to vote for and support that candidate. Nor
does the statute burden the associational rights of political
parties or primary candidates by interfering with their ability
to freely associate with candidates of their choosing.
(Plaintiff Conforti freely admits that she made the choice not

to be associated with the slate of candidates associated with

Senator Booker.) Further, the statute does not create the risk

that some votes will go uncounted or be improperly counted. All

the statute does is determine the order in which primary
candidates appear in each office block on the ballot.

Further, vote dilution is concerned with votes being
weighed differently. See Rucho, at 2501 (“‘[Vlote dilution’ in
the one person, one-vote cases refers to the idea that each vote
must carry equal weight.” (emphasis added)}); cf. Baten v.
McMaster, 967 F.3d 345, 355 (4th Cir. 2020), as amended (July
27, 2020) (“[N]o vote in the South Carolina system is diluted.
Every qualified person gets one vote and each vote is counted
equally in determining the final tally.”). The Plaintiffs have
not alleged that any of the votes in the Democratic Primary were

weighted or counted differently.

12
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 19 of 38 PagelD: 631

B. PLAINTIFFS’ AMENDED COMPLAINT FAILS TO STATE A
CLAIM OF A VIOLATION OF THE EQUAL PROTECTION
CLAUSE AND FREEDOM OF ASSOCIATION UNDER THE FIRST
AND FOURTEENTH AMENDMENT OF THE FEDERAL
CONSTITUTION
Plaintiff’s associational rights not to associate with a
political party cannot interfere or trump the associational
rights of political parties to express their cohesive ideology
and shared political beliefs through bracketing of candidates on
a primary ballot. In the instant matter, Plaintiffs have not

named any political party as a defendant. The rights of the

respective political parties and whether their rights to

associate with the Plaintiffs cannot be disputed.
Plaintiffs’ Associational and Equal Protection rights fail

under the balancing test set forth in Eu v. San Francisco County

Democratic Cent. Committee, 489 U.S. 214 (1989) and Tashjian v.

Republican Party of Connecticut, 479 U.5. 208 (1986). Courts

examine the constitutionality of a state election law first to
determine whether it burdens rights protected by the First and
Fourteenth Amendments, and secondly, whether the state can
provide a compelling state interest justification for burdening

such rights. Tashjian v. Republican Party of Connecticut,

supra, 479 U.S. at 217; Illinois Bd. of Elections v. Socialist

Workers Party, 440 U.S. 173, 184, (1979).

13
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 20 of 38 PagelD: 632

It is well-settled that the associational rights of
political parties are an essential right protected by the First

Amendment. Eu, 489 U.S. 214 (1989); Richardson v. Caputo, 46

N.J. 3, 9 (1965). For ballot drawing purposes, the county
clerk’s treatment of bracketed candidates as a single unit to be
drawn for ballot placement is a statutory requirement under
N.J.S.A. 19:49-2.

Tt is further settled precedent under New Jersey law that
the county clerk’s exercise of discretion to conduct ballot
drawing separately between bracketed and unbracketed candidates
does not in itself constitute an Equal Protection Clause

violation. Quaremba v. Allan, 67 N.J. 1, 10-18 (1975), relying

on strong precedent in Hawkes v. Gates, 129 N.J.L. 5 (1942); In

re Hoffman, 134 N.J.L. 155 (1946); Bado v. Gilfert, 13 N.J.

Super. 363, 365 (App. Div. 1951); Harrison v. Jones, 44 N.J.

Super. 456, 461 (App. Div. 1957); Moskowitz v. Grogan, 101 N.J.

Super. 111, 116 (App. Div. 1968).

The county clerk’s failure to draw ballot placement
separately between bracketed and unbracketed candidates would
defeat the legislative and constitutional purpose of bracketing.

Plaintiff is challenging the system of bracketing itself without

which political parties are restrained from the expressive free

speech activity safeguarded in Eu, Quaremba, Richardson, and

other cases. Ballot drawings that included both bracketed and

14
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 21 of 38 PagelD: 633

unbracketed candidates for the same office would a fortiori the
ability of candidates for different offices to bracket with each
other under the same slogan.

A viable Equal Protection claim requires proof of
“invidious discrimination’ which offends the Constitution.”

Quaremba v. Allan, 67 N.J. 1 (4975) (quoting Ferguson v. Skrupa,

372 U.S. 726, 732, (1963)). Plaintiff has not provided any

proof of intentional discrimination. Instead, Plaintiff offers
a professor’s summary of the academic literature on positional
ballot bias effect without any specific proof in this case that

such bias occurred and resulted in loss of votes for Plaintiff

that would have impacted the outcome of her primary election
loss,

Plaintiff's facial challenge to N.J.S.A. 19:49-2 must also

fail “where a statute has a “‘plainly legitimate sweep.’”

Crawford v. Marion County Election Bd., 553 U.S. 181, 202

(2008) (quoting Washington v. Glucksberg, 521 U.S. 702, 739-40,

and n. 7, (i997)).

The State of New Jersey possess “‘a broad power to
prescribe the ‘Times, Places, and Manner of holding Elections
for Senators and Representatives,’ [U.S. Const. Art I., g4, cl.
1, which power is matched by state control over the election

f

process for state offices.’” Clingman_ v. Beaver, 544 U.S. 581,

586, (2005) (quoting Tashjian, 479 U.S. at 217). That state

15
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 22 of 38 PagelD: 634

authority over the election process is subject to limits
established by the First Amendment rights of citizens, which
includes the freedom of political association, or non-

association. Eu, 489 U.S. at 222 (1989) (quoting Tashjiant, 479

U.S. at 217.

Election regulations imposing a severe burden on
associational rights are subject to scrutiny by the courts and
may be upheld only if they are narrowly tailored to serve a
compelling state interest. Clingman, 544 U.S. at 586.

Election regulations that impose only modest burdens on
associational rights requires a lower form of scrutiny in which
the state shows important regulatory interests justify

reasonable, non-discriminatory restrictions. Anderson v.

Celebrezze, 460 U.S. 780, 788, (1983). The U.S. Supreme Court

has “repeatedly upheld reasonable, politically neutral

regulations that have the effect of channeling expressive

activity at the polls.” Burdick v. Takushi, 504 U.S. 428, 438,

{1992).
Plaintiffs claiming an equal protection violation bear the
burden of providing some substantive proof of discrimination.

American Party of Texas v. White, 415 U.S. 767, (1974). The

Equal Protection clause requires proof of invidious or

intentional discrimination. Williamson v. Lee Optical Co., 348

U.S. 483, 489, (1955).

16
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 23 of 38 PagelD: 635

As the New Jersey Appellate Division explained in Quaremba,

128 N.Jd. Super. at 574 (App. Div. 1974), quoting from the U.S,

Supreme Court’s reasoning in Williamson:

Legislatures are presumed to have acted
constitutionally and their statutory
classifications will be set aside oniy if no
grounds can be concerned to justify them. The

measure of equal protection has been described
variously as whether ‘the distinctions drawn have
some basis in practical experience,..or whether the
legislature’s action falls short of ‘the invidious
discrimination,..or whether ‘any state of facts
reasonably may be conceived to justify’ the
statutory discrimination,..or whether the
classification is ‘on the basis of criteria wholly
unrelated to the objective of (the) statute.’

Plaintiff’s precise constitutional challenge to N.J.S.A.

19:49-2 has already been litigated before the New Jersey

Appellate Division and the Supreme Court of New Jersey.
N.g3.S.A. 19:49-2 provides in relevant part:

For the primary election for the general election
in all counties where voting machines are or shall
be used, all candidates who shall file a joint
petition with the county clerk of their respective
county and who shall choose the same designation
er slogan shall be drawn for position on the
ballot as a unit and shall have their names placed
on the same line of the voting machine; and
provided further, that all candidates for
municipal or party office in municipalities in
counties where voting machines are or shall be
used who shall file a petition with the clerk of
their municipality bearing the same designation or
slogan as that of the candidates filing a joint
petition with the county clerk as aforesaid, may
request that his or her name be placed on the same
line of the voting machine with the candidates who
have filed a joint petition with the county clerk
as aforesaid by so notifying the county clerk of

1?
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 24 of 38 PagelD: 636

said county in writing within two days after the
last day for filing nominating petitions and
thereupon the county clerk shall forthwith notify
the campaign manager of such candidates filing a
joint petition as aforesaid of said request, and
if the said campaign manager shall file his
consent in writing with the said county clerk
within two days after the receipt of said
notification from said county clerk, the clerk of
said county shali place the name of such candidate
on the same line of the voting machine on which
appears the names of the candidates who have filed
the joint petition as aforesaid; provided, also,
that any candidate filing a petition with the
Attorney General may request that his or her name
be placed on the same line of the voting machine
with the candidates who have filed a joint
petition with the county clerk as aforesaid by so
notifying the county clerk of said county in
writing within two days after the last day for
filing nominating petitions, and thereupon the
county clerk shall forthwith notify the campaign
manager of such candidates filing a joint petition
as aforesaid of said request, and if the said
campaign manager shall file his consent in writing
with the said county clerk within two days after
the receipt of said notification from said county
clerk, the clerk of said county shall place the
name of such candidate on the same line of the
voting machine on which appears the names of the
candidates who have filed the joint petition as
aforesaid.

As early as 1942, the former Supreme Court of New Jersey
examined N.J.S.A. 19:49-2 and concluded that the statutory
language revealed no express legislative direction “as to the
drawing for positions upon the ballot where there are present in
the field both independent unaffiliated candidates and

candidates affiliated under a slogan.” Hawkes v. Gates, 129

N.J.L. 5, 11 (1942). Therefore, the Hawkes court reasoned that

18
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 25 of 38 PagelD: 637

the legislature’s silence on ballot drawing between bracketed
and unbracketed candidates indicated that discretion rests with
the county clerk, and it was not for the court to read into the
statute legislative meaning where no specific instructions have
been expressed in the statute. Id. at ll.

The Hawkes line of cases reinforced the court’s position
that N.J.S.A. 19:49-2's silence meant that the legislature
afforded the county clerks discretionary authority to conduct
bailot drawing as it pertains to bracketed and unbracketed

candidates. See, In re Hoffman, 134 N.d.L. 155 (1946); Bado v.

Gilfert, 13 N.d. Super. 363, 365 (App. Div. 1951); Harrison v.

Jones, 44 N.J. Super. 456, 461 (App. Div. 1957); Moskowitz v.

Grogan, 101 N.J. Super. 111, 116 (App. Div. 1968).

The Supreme Court of New Jersey established the court’s
responsibility to check the seemingly amorphous discretionary

authority of the county clerks in this realm. In Richardson v.

Caputo, 46 N.J. 3 (1965), the court addressed whether the Essex
County Clerk properly exercised his discretionary authority by
reassigning ballot positions for remaining candidates for
different offices after candidates for one particular political
party withdrew from the race. Crucially for our purposes, the
court held that although the court generally defers to the
legislative scheme and delegated authority, “if it clearly

appears the course taken is not rooted in reason, the bounds of

19

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 26 of 38 PagelD: 638

the delegated authority have been exceeded and it is the duty of
the court to say so.” Id. at 9. Put simply, the county clerk’s
discretionary authority is subject to judicial review when his
exercise of discretion is not “rooted in reason.”

With that judicial responsibility in mind, the court
underscored the county clerk’s authority to place bracketed
candidates on separate columns from unbracketed unaffiliated

candidates. Farrington v. Falcey, 96 N.J. Super. 409, 412-14

{App. Div. 1967).

The Appellate Division’s opinion in Moskowitz is the
court’s clearest undergirding of the county clerk’s authority to
draw ballots separately between bracketed candidates as a single
unit and unbracketed, unaffiliated candidates. Supra. at, 116.
Moskowitz was a consolidated case involving two separate county
clerks but the same candidates in the same Democratic primary.
In both primary ballots, an unbracketed, unaffiliated candidate-
plaintiff requested that the county clerks draw for positions on
the ballot among all four slates of candidates, including as
between bracketed and unbracketed candidates. Moskowitz at 113~-
116.

Relying on Hawkes and its progeny as well as the statutory
language of N.J.S.A. 19:49-2, the court held that “where there
are two or more groups of candidates whose joint petitions were

filed with the County Clerk (hereafter called, for brevity,

20

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 27 of 38 PagelD: 639

county candidates), there must be a drawing for position as
between those groups, drawn as a unit,” regardless of whether
candidates for municipal or state-wide office affiliated with
the county candidates. Moskowitz, at 116.

Similarly, the court reasoned, two or more groups of state
candidates who are bracketed but not affiliated with county
candidates are entitled, as units, to a drawing position on the
ballot as among themselves, but not as against those affiliated
with the county candidates because that would displace state
candidates bracketed with county candidates from being on the

same line. Id. at 116.

The Quaremba set of cases yielded judicial opinions from

the Appellate Division and the Supreme Court of New Jersey that

essentially confronted the same constitutional challenge to
N.J.S.A. 19:49-2 presented in Plaintiffs’ Complaint. These
separate opinions stem from the same lawsuit. In Quaremba,
plaintiffs were candidates who lost in the Republican primary
election. Two of the plaintiffs were candidates for state
senator and one plaintiff was a candidate for county freeholder.
Analogous to the instant complaint, these plaintiffs filed a
declaratory judgment action that N.J.S.A. 19:49-2 was
unconstitutional on equal protection grounds because it
arbitrarily favors bracketed primary candidates with

advantageous ballot placement. Quaremba, Supra at 972.

21
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 28 of 38 PagelD: 640

The Appellate Division underscored the Legislature’s
authority to adopt reasonable regulations for the conduct of
primary and general elections, and found “nothing inherently
wrong or invidious in permitting candidates with like views to
be grouped together on the ballot.” Id. at 575. Importantly,
the Appellate Division rejected the argument that simply
pointing to the statutory scheme’s separate ballot drawing of
bracketed and unbracketed candidates constituted evidence of an
equal protection violation. The state’s interest in permitting
political parties and candidates to affiliate with political
parties on the ballot is the quintessence of free speech and
associational rights.

Likewise, the Supreme Court of New Jersey in Quaremba
reaffirmed the Appellate Division’s reasoning on this equal
protection point. Supra. The court also amplified the point
that even if plaintiffs’ allegation that unaffiliated candidates
would draw more votes if other candidates were not permitted to
bracket together, “it affords no basis for invalidating, as
unreasonable, the legislative determination that whatever the
effect on an unaffiliated candidate, the public interest is
better served by permitting a group of candidates having common
aims or principles and authorizing those candidates ‘to have
this fact brought to the attention of the voter in a primary

election with the additional effectiveness produced by alignment

22

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 29 of 38 PagelD: 641

of their names on the machine ballot.’” Quaremba, at 13 (quoting
Harrison, at 461.

More recently, in Schundler v. Donovan, 377 N.J. Super. 339

(App. Div. 2005), the Appellate Division confronted the same
constitutional claim that separate ballot draws for ballot
placement between bracketed and unbracketed candidates
constituted discrimination violative of the equal protection

clause. Id. at 343. The court followed the Hawkes line of cases

in affirming the county clerk’s discretion in this statutory
scheme and indicated that the court will not substitute the
clerk’s judgment unless that judgment is not “rooted in reason.”
Id. at 343-44. Equally significant, the court grounded its

decision in the plain meaning and language of N.J.S.A. 19:49-2.

Against the weight of seventy-eight years of precedent,

Plaintiff in this case challenges the constitutionality of the
bracketing statute on equal protection grounds analogous to
prior challenges to the same statute, except in this case
Plaintiff offers nascent research of positional bias effect to

establish an equal protection clause violation.

23
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 30 of 38 PagelD: 642

Cc. PLAINTIFFS AMENDED COMPLAINT FATLS TO STATE A
CLAIM OF A VIOLATION HER RIGHT OF ASSOCATION
GUARANTEED UNDER THE FIRST AND FOURTEENTH
AMENDMENT OF THE FEDERAL CONSTITUTION

Plaintiffs alleges that N.J.S.A. 19:49-2, imposes severe

burdens on her right of association, or not to associate with a
political party and her right to be treated the same as

bracketed candidates in the ballot drawing by drawing for ballot

placement in the same drawing as bracketed candidates.

Under Eu’s balancing test, N.J.S.A. 19:49-2 arguably
burdens Plaintiff’s right of association, or non-association,
and her right to equal treatment in ballot placement in

Democratic primary elections. Plaintiff's Complaint myopically

views this balancing test in terms of her rights burdened
instead of examining the burdens imposed on political parties
and bracketed candidates’ associational rights if the bracketing
statute was invalidated.

The state’s interest in drawing separate ballot placement
for bracketed and unbracketed candidates is rooted in the plain
language of N.J.S.A. 19:49-2. The statute and precedential case
law interpreting this statute have reached a point that it is a
well-settled legal expectation, if not requirement, that the
county clerk draw ballots for bracketed candidates as a singie

unit; therefore, ballot drawings for bracketed candidates cannot

24
Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 31 of 38 PagelD: 643

include unbracketed candidates. The state’s interest in
upholding N.J.S.A. 19:49-2 is to permit candidates of similar
political views to associate through the expressive activity of
bracketing on the ballot. Conversely, bracketing also permits
candidates of similar views to draw a contrast or disassociation
with candidates of differing views for voters.

Moreover, Plaintiff’s facial challenge to N.J.S.A. 19:49-2
runs counter to the U.S. Supreme Court’s jurisprudence in this
area that requires facial challenges to a statute to fail where
the statute has a “plainly legitimate sweep.” Crawford., at 202

(2008) (quoting Washington, at 739-40, andn. 7. N.J.S.A. 19:49-

2's plainly legitimate sweep is the fostering and promotion of
constitutionally protected expressive activity and political
speech through bracketing and ballot placement.

If Plaintiffs’ challenge prevails in this case, it will
impose severe burdens on the associational rights of political
parties, small and iarge, and candidates who share similar views
and want to express those views to the voters by grouping
together on the ballot in accordance with N.J.S.A. 19:49-2 and
the rest of the statutory scheme created by the Legislature.

The statute does not limit the ability of the Plaintiffs
access to the primary ballot or burden their freedom of
association. Plaintiff Conforti voluntarily utilized her right

not to associate with other candidates and still was afforded

25

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 32 of 38 PagelD: 644

the opportunity to have her name appear on the primary ballot.
The Plaintiffs right to association was never implicated.
Accordingly, there is no valid federal constitutional basis to
invalidate a statute created and passed by democratically
elected Legislatures in New Jersey since 1941.
D. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE A
CLAIM OF A VIOLATION OF THE ELECTIONS CLAUSE OF
THE FEDERAL CONSTITUTION
Plaintiffs’ main argument is that the bracketing and
ballot placement system in a closed primary election.is designed
to disfavor and penalize unbracketed federal candidates that are
not aligned with the endorsed candidate of the political party
conducting the election and the system violates the Elections
Clause set forth in Article I, Section 4, Clause 1 of the United
States Constitution. (ECF 33 page 54 paragraph 218) That clause
reads:
The Times, Places, and Manner of holding Elections for
Senators and Representatives, shall be prescribed in
each State by the Legislature thereof; but the
Congress may at any time by Law make or alter such
Regulations, except as to the Places of [choosing]
senators.
[U.S. Const. art. I, § 4, cl. 1.]
Plaintiffs do not contend that the New Jersey bracketing

and ballot system regulates the time, place, or manner of

elections. {ECF 33 Page 53 Paragraphs 213-217). Rather, the

26

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 33 of 38 PagelD: 645

Plaintiffs’ allege the bracketing and ballot procedure exceeds
the state’s authority and is constitutionally invalid. However,
that argument is not supported by settled law. In fact,
precedents of the United States Supreme Court have adopted a
more expansive notion of the form of state legislative power
that may satisfy the Elections Clause.

The Elections Clause authorizes each state to enact
processes to be followed in electing members of the House and
Senate from their respective states. As the Supreme Court

‘recognized in Storer v. Brown, 415 U.S. 724 (1974), states

retain the power of establishing the time, place, and manner of
primary elections under the Elections Clause. "[A]ls a practical
matter, there must be a substantial regulation of elections if
they are to be fair and honest and if some sort of order, rather
than chaos, is to accompany the democratic processes." Id. at

730. The Court explained in Foster v. Love, 522 0.5. 67, 69

(1997), that the Elections Clause "ais a default provision; it
invests the States with responsibility for the mechanics of
congressional elections." (emphasis added) The Supreme Court

reiterated in U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779,

832 (1995) that the Framers intended the Elections Clause to
grant states the authority to create procedural regulations for

such federal elections.

27

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 34 of 38 PagelD: 646

Moreover, Judicial review of the exercise of delegated
powers is limited. "In such circumstances the executive action
should be ‘supported by the strongest of presumptions and the
widest latitude of judicial interpretation, and the burden of
persuasion would rest heavily upon any who might attack it.'"

Ibid. (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

579, 637 (1952) (Jackson, J., concurring)} (concerning analogous
concepts of federal separation of powers). "In such a case [the
executive's] actions pursuant to that delegated authority are
constitutionaliy valid as long as he has not exceeded his
statutory authority and the government as a whole has the power

to act." Worthington v. Fauver, 88 N.J. 183 at 208 (1982).

The Supreme Court has held that “States may regulate the
incidents of such elections, including balloting, only within
the exclusive delegation of power under the Elections Clause.”

Cook v. Gralike, 531 U.S. 510, 523 (2001) In Cook, the Court

invalidated a Missouri law that placed a pejorative designation
next to candidates who refused to support term limits because
the law did not requlate the time, place, or manner of elections
but instead sought to disparage or endorse particular
candidates. Id. at 523-26. “Thumbs-up” laws could be evaluated
under that standard, as could other laws that arguably do not
regulate the manner of elections, like laws that provide

favorable font choices for certain candidates. But Cook and the

28

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 35 of 38 PagelD: 647

Elections Clause provide no standard to evaluate laws that
govern ballot order. Unlike the law at issue in Cook or a
“thumbs-up” law, laws that govern ballot order plainly regulate
the manner of elections and are within the power of states to

enact. See Jacobson v. Florida Secretary of State, 974 F.3d

1236 (2020) In Jacobson, the Eleventh Circuit Court of Appeals
recently had that the choice of what order to adopt cannot be
evaluated using legal standards because it “poses basic
questions that are political, not legal.” Id. quoting Rucho, 139

S.Ct. at 2500.

E. PLAINTIFFS AMENDED COMPLAINT FAILS TO STATE A
CLAIM OF A DEPRIVATION OF ANY CONSTITUTIONAL OR
FEDERAL STATUTORY RIGHTS

The Plaintiffs has asserted claims arising under §1983 of the
Civil Rights Act. The relevant provisions of the Civil Rights Act,

42 U.S.C. §1983 state:

“Every person who, under color of any
statute, ordinance . . . of any State.
subjects or causes to be subjected, any
citizen of the United States or other person
within the jurisdiction thereof to
deprivation of any rights, privileges, or
immunities secured by the Constitution and
laws, shall be liable to the party injured
in an action at law, suit in equity, or
other proper proceeding for redress.”

The language of the statute is implicitly clear in that it

only provides a remedy for deprivations of rights secured by the

29

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 36 of 38 PagelD: 648

Constitution or federal laws. Maine v. Thiboutot, 448 U.S. 1, 7

(1984) It is well settled that §1983 is not itself a source of
substantive rights but merely provides a method for vindicating

federal rights conferred elsewhere. Graham v. Connor, 490 U.S.

386, (1989}, citing Baker v. McCollan, 443 U.S. 137, 144, n.3,

(1979). See also Willdoner v. Borough of Ramsey, 162 N.J. 375

(2000). Moreover, 42 U.S.C. §1983 is the exclusive remedy for
violations of the United States Constitution by state officials.

Quern v. Jordan, 440 U.S. 332, 351 (1979) Further, as noted by

the Court in West v. Atkins, 487 U.S. 32, :°48, (1988):

To state a claim under §1983, a plaintiff
must allege the violation of a right secured
by the Constitution and laws of the United
States, and must show that the alleged
deprivation was committed by a person
acting under color of State law. (Emphasis
added; cites omitted)

Thus, “one cannot go into court and claim a violation of
§1983- for §1983 by itself does not protect anyone from

anything.” Chapman v. Houston Welfare Rights Org., 441 U.S.

600, 617 (1979); Baker, supra, at 144, n.3 (1979) Likewise,
under §1983 a plaintiff is required to set forth specific
conduct by the governmental entity or its officials that

violated the Constitutional rights of plaintiff. Hillard v. New

Jersey Army Nat’l Guard, 527 F. Supp. 405 (D.N.J. 1981);

Henschke v. Borough of Clayton, 251 N.J. Super. 393, 401 (App.

Div. 1991) A plaintiff is required to establish with

30

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 37 of 38 PagelD: 649

specificity that the defendant deprived him of a right secured

by the Constitution. Reid v. Barret, 467 F. Supp. 124 (D.N.J.

1979), aff’d., 615 F.2d 1354 (3°° Cir. 1990); Henschke, supra.
Clearly, a plaintiff must assert the violation of a federal
right and such assertion must not be too vague and amorphous to
be beyond the competence of the judiciary to enforce. Golden

State Transit v. City of Los Angeles, 493 U.S. 103, 106, (1989);

Middlesex County Sewage v. National Sea Clammers Assn., 453 U.S.

1, 19, (1981); Wright v. Roanoke Redevelopment and Housing

Authority, 479 U.S. 418, 431-432 (1987).

It is evident that Plaintiffs have failed to meet the
requirements of §1983. Even a most liberal reading of the
complaint in favor of Plaintiffs fails to demonstrate the
deprivation of any rights protected by the Constitution or
federal statutes vis a vis Defendant Ocean County Clerk.
Plaintiff fails to plead adequate facts demonstrating the
Defendant, Ocean County Clerk’s application of the bracketing
statutes deprived Plaintiff Conforti of a particular right. The
First and Fourteenth Amendments do not guarantee Plaintiff
Conforti the right to a specific location on the primary
election ballot. Plaintiff Conforti’s name and the names of
the other candidates running in the primary election for the
position of U.S. House of Representative for the 4™

Congressional District were on a row designated for candidates

31

Case 3:20-cv-08267-ZNQ-TJB Document 55-1 Filed 03/29/21 Page 38 of 38 PagelD: 650

running for the “Member of the House of Representatives, qth
Congressional District” on the County of Ocean Primary Election
Ballot.

OCEAN COUNTY CLERK JOINS AND ADOPTS MOTIONS BY OTHER
CO-DEFENDANTS AND STATE OF NEW JERSEY

Defendant, Ocean County Clerk hereby joins and adopts any
arguments for dismissal made by the co-defendants, State of New
Jersey and any other interveners to file briefs in this matter
to the extent that said arguments apply to this defendant.

CONCLUSION

For the reasons set forth herein, it is respectfully
submitted that Plaintiffs Amended Complaint should be dismissed

as a matter of law.

BERRY, SAHRADNIK, KOTZAS & BENSON
Attorneys for Defendant Ocean
County Clerk, Scott M. Colabella

| Wathew B. “Thompson

Dated: March 29, 2021

32

